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 1   DANIEL J. BRODERICK, Bar #89424
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JUAN BERNARDO RODRIGUEZ
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )     NO. CR.S. 09-00224-WBS
11                                   )
                    Plaintiff,       )
12                                   )     STIPULATION AND ORDER RE:
               v.                    )     CONTINUANCE OF STATUS HEARING AND
13                                   )     FINDINGS OF EXCLUDABLE TIME
     JORGE ALVAREZ ALVAREZ, et al., )
14                                   )     DATE: July 26, 2010
                    Defendants.      )     TIME: 8:30 a.m.
15                                   )     JUDGE: Hon. William B. Shubb
     _______________________________ )
16
17          JORGE ALVAREZ ALVAREZ, by and through his counsel MICHAEL L.
18   CHASTAINE, JORGE GUTIERREZ CAMACHO by and through his attorney DINA L.
19   SANTOS, JASMINE MAUREEN COOK-VENEGAS by and through her counsel J.
20   TONEY, MIGUEL RUIZ MARTINEZ, by and through his counsel CLEMENTE M.
21   JIMENEZ, JUAN BERNARDO RODRIGUEZ, by and through his counsel, DENNIS S.
22   WAKS, Supervising Assistant Federal Defender, and the United States
23   Government, by and through its counsel, TODD D. LERAS, Assistant United
24   States Attorney, hereby agree that the status conference set for June
25   14, 2010, be continued for a status conference on July 26, 2010, at
26   8:30 a.m.   This continuance is requested because counsel for the
27   defendants require additional time to obtain and review discovery,
28   continue our investigation, and to interview our clients and other
             Case 2:09-cr-00224-WBS Document 33 Filed 06/15/10 Page 2 of 4


 1   witnesses.    The defendants in this case consent to this continuance.
 2            Counsel, along with the defendants agree that the time from the
 3   date of this order through July 26, 2010, should be excluded in
 4   computing the time within which trial must commence under the Speedy
 5   Trial Act, §3161(h)(7)(B)(iv) and Local Code T4. [reasonable time to
 6   prepare].
 7   DATED: June 10, 2010               Respectfully submitted,
 8                                      DANIEL J. BRODERICK
                                        Federal Defender
 9
                                        /S/ Dennis S. Waks
10                                      ________________________________
                                        DENNIS S. WAKS
11                                      Supervising Assistant Federal Defender
                                        Attorney for Defendant
12                                      JUAN BERNARDO RODRIGUEZ
     DATED: June 10, 2010
13                                      /S/ Dennis S. Waks for
14                                      MICHAEL L. CHASTAINE
                                        Attorney for JORGE ALVAREZ ALVAREZ
15   DATED: June 10, 2010
                                        /S/ Dennis S. Waks for
16
                                        DINA LEE SANTOS
17                                      Attorney for JORGE GUTIERREZ CAMACHO
     DATED: June 10, 2010
18
                                        /S/ Dennis S. Waks for
19
                                        J. TONY, Attorney for
20                                      JASMINE MAUREEN COOK-VENEGAS
     DATED: June 10, 2010
21
                                        /S/ Dennis S. Waks for
22
                                        CLEMENTE M. JIMENEZ
23                                      Attorney for MIGUEL RUIZ MARTINEZ
24   / / /
25   / / /
26   / / /
27   / / /
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 1   DATE:   June 10, 2010              BENJAMIN B. WAGNER
                                        United States Attorney
 2
 3
                                        /S/ Dennis S. Waks for
 4                                      _______________________________
                                        TODD D. LERAS
 5                                      Assistant United States Attorney
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                           IN THE UNITED STATES DISTRICT COURT
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                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )   NO. CR.S. 09-00224-WBS
 9                                         )
                        Plaintiff,         )
10                                         )   ORDER RE: CONTINUANCE OF STATUS
                  v.                       )   HEARING AND FINDINGS OF
11                                         )   EXCLUDABLE TIME
                                           )
12   JORGE ALVAREZ ALVAREZ, et al.,        )   DATE: July 26, 2010
                                           )   TIME: 8:30 a.m.
13                      Defendants.        )   JUDGE: Hon. William B. Shubb
                                           )
14   _______________________________
15                                    ORDER AND FINDINGS
16        The new status conference is set for July 26, 2010, at 8:30 a.m.
17   The court finds that the interests of justice are best served and the
18   public interest is protected by granting the continuance in the above-
19   captioned matter.      Accordingly, time is excluded from the date of this
20   order through July 26, 2010, in computing the time within which trial
21   must commence under the Speedy Trial Act, pursuant to Title 18 U.S.C.
22   §3161(h)(7)(B)(iv) and Local Code T4. [reasonable time to prepare.]
23   DATED:    June 15, 2010
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